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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Isaac Paz
                                           Plaintiff,
v.                                                          Case No.: 1:14−cv−09751
                                                            Honorable Jorge L. Alonso
Portfolio Recovery Associates, LLC
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 6, 2015:


        MINUTE entry before the Honorable Jorge L. Alonso: Motion hearing held. For
the reasons stated on the record, Plaintiff's motion for leave to file a first amended
complaint [24] and motion to certify class [25] are denied. Defendant's motion for
protective order [28] is granted. Enter Confidentiality Order. Dispositive motions with
supporting memoranda is extended to 9/17/15. Responses are extended by 10/8/15.
Replies are extended to 10/22/15. The court will rule electronically and set further dates in
the ruling. Notice mailed by judge's staff (ntf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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